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1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 2:13-cr-00053
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   STATUS CONFERENCE TO DECEMBER 4,
12           v.                                     )   AT 9:00 A.M.
                                                    )
13   OMAR VERA, JOSE MORALES                        )   Date: October 30, 2014
     CASTELLON, EDUARDO REYES,                      )   Time: 9:00 a.m.
14                                                  )   Judge: Honorable Morrison C. England, Jr.
                                Defendants.         )
15                                                  )
16
17             The parties stipulate, through respective counsel, that the Court should continue the status
18   conference set for October 30, 2014, at 9:00 a.m., to December 4, 2014, at 9:00 a.m.
19             Defense counsel require the continuance to consult with their clients about proposed plea
20   agreements, and to negotiate with the government. Counsel for Mr. Castellon has limited
21   availability because he has started an homicide trial in Superior Court.
22             Counsel and the defendants agree that the Court should exclude the time from the date of
23   this order through December 4, 2014, when it computes the time within which trial must
24   commence under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
25   ///
26   ///
27   ///
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      Stipulation to Continue                           -1-                                       13-53 MCE
        Case 2:13-cr-00053-JAM Document 48 Filed 10/29/14 Page 2 of 3


1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: October 28, 2014                        HEATHER E. WILLIAMS
                                                    Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Mr. Vera
8
9    DATED: October 28, 2014
10
                                                    /s/ M.Petrik for_______
11                                                  KYLE RODGER KNAPP
                                                    Attorney for Mr. Castellon
12
13   DATED: October 28, 2014
14
                                                    /s/ M.Petrik for_______
15                                                  RONALD JAMES PETERS
                                                    Attorney for Mr. Reyes
16
17   DATED: October 28, 2014                        BENJAMIN B. WAGNER
18                                                  United States Attorney

19                                                  /s/ M.Petrik for_______
                                                    JASON HITT
20                                                  Assistant U.S. Attorney
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      Stipulation to Continue                         -2-                                           13-53 MCE
       Case 2:13-cr-00053-JAM Document 48 Filed 10/29/14 Page 3 of 3


1                                                  ORDER
2              The Court, having received, read, and considered the stipulation of the parties (ECF
3    No. 47), and good cause appearing, ADOPTS the stipulation in its entirety as its order. The
4    Court specifically finds that the failure to grant a continuance in this case would deny defense
5    counsel reasonable time necessary for effective preparation, taking into account the exercise of
6    due diligence. The Court finds that the ends of justice served by granting the continuance
7    outweigh the best interests of the public and defendants in a speedy trial.
8              The Court ORDERS that the status conference for Defendants Omar Vera, Jose Morales
9    Castellon, and Eduardo Reyes is RESCHEDULED for December 4, 2014, at 9:00 a.m. The
10   Court ORDERS the time from the date of this order, up to and including December 4, 2014,
11   excluded from computation of time within which the trial of this case must commence under the
12   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
13             IT IS SO ORDERED.
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     Dated: October 29, 2014
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      Stipulation to Continue                         -3-                                        13-53 MCE
